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                                                  U.S. Department of Justice

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                                                      March 13, 2020

BY ECF
The Honorable Jesse M. Furman
United States District Judge
Southern District of New York
40 Foley Square
New York, New York 10007

        Re:     United States v. Michael Avenatti, 19 Cr. 374 (JMF)

Dear Judge Furman:

        The Government respectfully submits this letter jointly with the defendant pursuant to the
Court’s Scheduling Order dated February 26, 2020 (Dkt. No. 41) to address certain issues related
to the juror questionnaires and oral voir dire. The Government also submits herewith jointly on
behalf of both parties, pursuant to the same Scheduling Order, a proposed juror questionnaire for
the Court’s consideration.

   I.         Background

        A. The Extortion Case

        From January 27, 2020, until February 14, 2020, the defendant was tried before the
Honorable Paul G. Gardephe, United States District Judge for the Southern District of New York,
for extortion and honest services wire fraud offenses. See United States v. Michael Avenatti, 19
Cr. 373 (PGG). Judge Gardephe used a juror questionnaire that the jurors completed prior to oral
voir dire. The following day, Judge Gardephe followed up at sidebar with potential jurors
regarding issues raised in their juror questionnaires, before proceeding with traditional voir dire in
open court, other than when a potential juror requested to answer a question at sidebar. Judge
Gardephe permitted the defendant and a member of the media from the New York Post to be present
at sidebar discussions with potential jurors.

        The juror questionnaires and voir dire process were the subject of several press reports,
some of which appear to be based on Judge Gardephe’s reading of certain responses to juror
questionnaires in open court and another appears to arise from the New York Post reporter’s
attendance at a sidebar conference. See, e.g., Emily Saul, ‘Notorious Scumbag’: Potential jurors
tossed      for    bashing     Michael      Avenatti     N.Y.      Post,     Jan.    27,    2020,
https://nypost.com/2020/01/27/notorious-scumbag-potential-jurors-tossed-for-bashing-michael-
avenatti/ (describing questionnaire responses, and explaining that jurors dismissed based on their
questionnaires “were kept anonymous”); Michael Avenatti Greets Prospective Jurors at NYC
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Courtroom       for     Extortion     Trial,   NBC       New       York, Jan.    27,    2020,
https://www.nbcnewyork.com/news/local/crime-and-courts/michael-avenatti-greets-prospective-
jurors-at-nyc-courtroom-for-extortion-trial/2269253/ (describing questionnaire responses);
Stewart Bishop, Harsh Words For Avenatti As Jury Selection Kicks Off, Law360, Jan. 27, 2020,
https://www.law360.com/articles/1237994 (same); Emily Saul, Lawyer linked to Jared Kushner
cut from jury pool in Michael Avenatti case, N.Y. Post, Jan. 28, 2020,
https://nypost.com/2020/01/28/lawyer-linked-to-jared-kushner-cut-from-jury-pool-in-michael-
avenatti-case/ (describing sidebar colloquy regarding potential juror).

         B. The Fraud Case

        Both the defendant and the victim in this case are public figures who some find
controversial due to, among other things, their past involvement in the political arena. Indeed, this
case has received extensive coverage from the news media. See, e.g., Erica Orden, Michael
Avenatti charged with stealing $300,000 from former client Stormy Daniels, CNN, May 23, 2019,
https://www.cnn.com/2019/05/22/politics/michael-avenatti-stormy-daniels-
indictment/index.html; Andrew Denney & Theo Wayt, Avenatti wants to move case against him
from New York to California, N.Y. Post, July 23, 2019, https://nypost.com/2019/07/23/avenatti-
wants-to-move-case-against-him-from-new-york-to-california/; Associated Press, April Trial
Date Set for Avenatti in Stormy Daniels’ Case, U.S. News & World Report, Oct. 8, 2019,
https://www.usnews.com/news/us/articles/2019-10-08/april-trial-date-set-for-avenatti-in-stormy-
daniels-case; Gabrielle Fonrouge, Court date set for Michael Avenatti’s Stormy Daniels trial, N.Y.
Post, Feb. 12, 2020, https://nypost.com/2020/02/12/court-date-set-for-michael-avenattis-stormy-
daniels-trial/; Associated Press, Avenatti’s lawyer to put Stormy Daniels’ credibility on trial, Fox
Business, Feb. 27, 2020, https://www.foxbusiness.com/lifestyle/avenatti-lawyer-stormy-daniels-
trial.

   II.      Applicable Law

        The Second Circuit has held that there is a qualified “‘right to attend criminal trials . . .
implicit in the guarantees of the First Amendment.’” ABC, Inc. v. Stewart, 360 F.3d 90, 98 (2d
Cir. 2004) (quoting Richmond Newspapers, Inc. v. Virginia, 488 U.S. 555, 580 (1980)). That right
of access can extend to the examination of prospective jurors as part of the voir dire process. Id.
(citing Press Enter. Co. v. Superior Court, 464 U.S. 501, 504-10 (1984) (“Press Enter. I”)).

        But the right of access to the proceedings in criminal trials is not absolute, and “must, in
certain circumstances, give way . . . to other rights or interests, such as the defendant’s Sixth
Amendment right to a fair trial or the privacy interests of prospective jurors.” See id. (citing Press
Enter. I, 464 U.S. at 510-11 (internal citation and quotation marks omitted)). In the particular
context of voir dire, the Supreme Court in Press Enterprise Co. v. Superior Court, 478 U.S. 1
(1986) (“Press Enter. II”) created a two-part balancing test to determine whether closure, such as
precluding the press from voir dire, is appropriate: “[T]he [proceeding] shall be closed only if
specific findings are made demonstrating that, first, there is a substantial probability that the
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defendant’s right to a fair trial will be prejudiced by publicity that closure would prevent, and
second, alternatives to closure cannot adequately protect the defendant’s fair trial rights.” Id. at 14.

        In applying these standards, the Second Circuit has emphasized that “different
circumstances call for different cures,” and that there are “no prescriptions to be applied
formulaically” when a district court decides whether to close voir dire to the press. Stewart, 360
F.3d at 104. In one case, United States v. King, 140 F.3d 76, 80 (2d Cir. 1998), the Second Circuit
affirmed a limited closure of voir dire proceedings whereby the district court conducted individual
follow-up questions during voir dire outside of the presence of the public and the press, and denied
access to the transcripts of in camera individual voir dire until the jury was impaneled. See id.
at 80. In implementing those limitations, the district court had found that they were necessary in
order to ensure that the prospective jurors would be fully candid concerning their views of the
defendant and case, boxing promoter Don King, in light of the considerable press attention that
the case had received, as well as the strong likelihood that voir dire would explore the “delicate
area of possible racial bias.” United States v. King, 911 F. Supp. 113, 117 (S.D.N.Y. 1995). See
also United States v. King, No. 94 Cr. 455 (LMM), 1998 WL 50221, at *2 (S.D.N.Y. Feb. 5, 1998)
(“[C]andor on the part of prospective jurors is of particularly great importance in this case and [],
absent a degree of juror privacy, such candor is likely to be restricted. Prospective jurors, if made
aware that their views will be publicly disseminated in the next day’s newspapers or radio or
television broadcasts, will be under pressure not to express unpopular opinions relevant to their
choice as trial jurors.”). Thus, the Second Circuit concluded, “[i]n light of the widespread and
largely negative publicity concerning King and the racial tensions heightened by some aspects of
that publicity, [the district court was] entitled to conduct individual juror questioning in the absence
of the press.” 140 F.3d at 82.

        In the criminal trial of former pharmaceutical executive Martin Shkreli, the district court,
after receiving briefing from the press and the parties in that case, permitted press access to the
individual portions of voir dire—i.e., sidebar questioning, in the particular manner that jury
selection was conducted for that case—but limited access to a single press pool reporter, with the
court also retaining the ability to excuse the reporter if a juror requested or if the court otherwise
determined that the presence of the reporter would inhibit the prospective juror’s candor. See
United States v. Shkreli, 260 F. Supp. 3d 257, 259 (E.D.N.Y. 2017) (KAM). 1 As Judge Matsumoto
explained, “voir dire can be a uniquely uncomfortable experience” for the venire, and that in high-
profile cases, in particular, “prospective jurors may be subject to having their answers reported
and disseminated that same day.” Id. at 260. The court also noted that the defendant in that case
had “attracted a tremendous amount of negative publicity and notoriety,” that “certain of the issues
to be probed at voir dire relate to beliefs and actions . . . concerning polarizing topics, such as race,
gender, politics, and class,” and that “disclosure of juror names would increase the risk that jurors
would not be candid.” Id. at 261-62.



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        In Stewart, the Second Circuit noted that pool reporters at voir dire had been employed in
other high-profile cases. 360 F.3d at 94-95.
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        Thus, Judge Matsumoto concluded that a single pool reporter would be permitted at sidebar
for individual questioning of the venire persons. 2 See id. at 263. The court noted, however, that
it would ensure that jurors would be made aware that they could “request[] that the reporter be
excused from sidebar” and that the court could also excuse the reporter on its own initiative if it
determined that a juror did not “appear fully comfortable answering questions fully and honestly
in the presence of a reporter.” Id. The court also restricted the parties’ use of the jurors’ names in
order to preserve the jury’s anonymity and protect the jurors from harassment. See id. at 264.

    III.     Proposed Procedures For Juror Questionnaires and Oral Voir Dire

         In this case, the concerns regarding the defendant’s right to a fair trial and the privacy
interests of potential jurors are similar to those presented in King and Shkreli. See King, 140 F.3d
at 83 (“[T]his is that unusual case where the fairness of a trial, or at least the voir dire phase, that
is usually promoted by public access is seriously at risk of being impaired unless some modest
limitation on access is imposed.”). Accordingly, the parties propose that the Court adopt
procedures substantially similar to those adopted in Shkreli and that impose modest and reasonable
restrictions on the press and public’s access to certain information and proceedings in order to
adequately protect the rights of the defendant and potential jurors, while making the proceedings
as accessible as possible in light of the circumstances.

             A. Juror Questionnaires

         The parties propose that completed juror questionnaires be available only to the Court and
the parties until the jury has been impaneled. After the jury is impaneled, the Court, upon request,
would provide to the public and/or the press copies of the completed juror questionnaires. This
procedure is identical to part of the protocol that the Second Circuit affirmed in King, 140 F.3d
at 80 (“Filled out questionnaires will be available only to the Court and the parties until the jury
has been impaneled.”), and is less restrictive than the procedure employed in some other high-
profile cases, see, e.g., United States v. Bruno, 700 F. Supp. 2d 175, 178 (N.D.N.Y. 2010)
(explaining that juror questionnaires were only “disseminated to the parties subject to an order
precluding further disclosure”). Here, like in King, such a restriction is necessary to avoid potential
disruption of the jury selection process, though here the risk relates principally to the potential for
politically charged views, rather than racially charged views. See id. at 83 (“Prospective jurors
hearing from friends and neighbors about racially charged views of other jurors as reported by
press and TV, often dramatically and without necessary details, will often not read for themselves
that names were redacted (even if the news report mentions that fact) nor recall all the details of
the trial judge’s first-day explanation of the jury selection procedure. The risk, deemed
unacceptable by Judge McKenna, is that in this particular case of a defendant of unusually high
visibility, already subject to extraordinary hostile publicity, the airing of jurors’ responses will
significantly inhibit the candor necessary to assure a fairly selected jury and therefore a fair trial.”).
Indeed, in these circumstances, there is clear evidence juror responses may be subject to press

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       Judge Matsumoto did not make use of jury questionnaires, so the court employed both
general, open questioning as well as individualized sidebar questioning.
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commentary—and thus candid responses may be chilled—given that that is precisely what
happened with respect to the juror questionnaires and voir dire in the defendant’s trial before Judge
Gardephe.

           B. Oral Voir Dire

         The parties propose that the defendant and, assuming more than one member of the press
requests to be present at sidebar discussions, a single pool reporter be permitted to be present at
sidebar discussions with potential jurors. In addition, the parties ask that the Court ensure that
jurors are aware that they can request that the reporter be excused from sidebar and that the Court
excuse the reporter on its own initiative if it determines that a juror does not appear fully
comfortable answering questions fully and honestly in the presence of the reporter. This is the
same procedure that was employed in Shkreli, 260 F. Supp. 3d at 263 & n.3, is similar to that
which was used in United States v. Loera, No. 09 Cr. 466 (BMC), 2018 WL 5624143, at * 5
(E.D.N.Y. Oct. 30, 2018) (“The Court will inform each prospective juror that the five individuals
in the jury box are reporters, and that, if at any point the prospective juror would like to speak with
the Court in camera so that the press cannot overhear, the prospective juror may request a
sidebar.”), and is less restrictive than the procedure that the Second Circuit affirmed in King, 140
F.3d at 80 (“Individual follow-up questioning of prospective jurors will be conducted out of the
presence of the public and the press.”). Finally, transcripts of oral voir dire should only be made
available following the impanelment of a jury, see King, 140 F.3d at 80 (affirming district court’s
decision to conduct individual follow-up questioning out of presence of the public and press, and
to make transcripts of jury selection available only after jury was impaneled), and should jury
selection take more than a day, the members of the venire should be instructed not to review any
press reporting about the case, including the previous days’ jury selection.

        These proposed procedures will protect the interests in juror privacy, the defendant’s trial
right to fully examine the juror, and the prevention of juror taint, while also providing access to
the press except in narrow circumstances where such access would compromise the
aforementioned interests that the Court must protect.
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      IV.      Conclusion

        In light of the foregoing, the Government respectfully requests jointly with the defendant
that the Court adopt the procedures set forth above with respect to juror questionnaires and oral
voir dire, as well as the proposed jury questionnaire attached hereto.

                                                     Respectfully submitted,

                                                     GEOFFREY S. BERMAN
                                                     United States Attorney



                                               By:   ___________________________
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cc:         Thomas D. Warren, Esq. (by ECF)
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            Mariel Colon Miro, Esq. (by ECF)
